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    5   Presented on behalf of Plaintiff and
    6
        Class Representative D. JACOBS

    7
    8                        UNITED STATES DISTRICT COURT
    9                      CENTRAL DISTRICT OF CALIFORNIA
   10                                WESTERN DIVISION
   11   PEOPLE OF CITY OF LOS                      2:24-CV-09320-DOC-MAAx
        ANGELES WHO ARE UN-HOUSED,
   12   AS A CLASS REPRESENTED BY D.                           [Proposed]
        JACOBS, as representative of a class of                 ORDER
   13   unhoused persons who reside and resided
        in the streets and on the sidewalks of the     ON MOTION FOR PARTIAL
   14   City of Los Angeles,                           SUMMARY JUDGMENT ON
                                                      ISSUES F EXCESSIVE FORCE
   15                       Plaintiff,                   AND OF MALIICIOUS
                                                            PROSECUTION
   16
                             v.
                                                              June 2, 2025
   17                                                           8:30 a.m.
        KAREN BASS, et al,
   18
                                                             Courtroom 10A
                            Defendants.
   19                                                     Judge David O. Carter

   20
              IT HEREBY IS ORDERED, ADJUDGED, AND DECREED that the
   21
        Uncontroverted Facts and Conclusions of Law rendered herewith be made, filed,
   22
        and entered.
   23
              June 2, 2025                          _____________________________
   24
                                                 DAVID O. CARTER
   25                                           United States District Judge
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